Case 18-13386-RAM Doc66 Filed 10/17/18 Page 1 of 29

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF FLORIDA

MIAMI DIVISION
In re:
RAFAEL ANGEL GONZALEZ MENDOZA and Case No.: 18-13386-RAM
CARMEN CECILIA BALGUER PERAL, Chapter 7
Debtors.

/

NOTICE OF FILING OF INITIAL BRIEF OF PETITIONER FLORIDA DEPARTMENT
OF REVENUE TO THE SUPREME COURT OF FLORIDA AND ORDER FROM THE
SUPREME COURT DISMISSING THE APPEAL

COME NOW the Debtors, RAFAEL ANGEL GONZALEZ MENDOZA and CARMEN
CECILIA BALGUER PERAL and files the attached copies of the Initial Brief of Petitioner Florida
Department of Revenue to the Supreme Court of Florida and Order from the Florida Supreme Court
dismissing the appeal.

Respectfully submitted,

By: OMEN

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Case 18-13386-RAM Doc66 Filed 10/17/18 Page 2 of 29
_ BID.J. WHITE

IN THE SUPREME COURT OF FLORIDA ~ MAY “19 19984

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APPRAISER, DADE COUNTY TAX . Bhiet Depety Ghet
COLLECTOR, and FLORIDA "
DEPARTMENT OF REVENUE,
CASE NO. 92,628
Petitioners,

Vv.
JOSE LISBOA,

Respondent.

 

INITIAL BRIEF OF PETITIONER
FLORIDA DEPARTMENT OF REVENUE

On Discretionary Review from the District Court of Appeal
Third District of Florida

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Case 18-13386-RAM Doc66 Filed 10/17/18 Page 3 of 29

TABLE OF CONTENTS

Item

 

TABLE OF CONTENTS. . . 1. 2. . 1 ee ew we we

TABLE OF CITATIONS . 2. 1. 1. 6 ew ew ee et ee
PRELIMINARY STATEMENT. . 2. 2. ee ee te we ew ee ee ee
STATEMENT OF THE CASE AND FACTS. . ...... ee ee
SUMMARY OF THE ARGUMENT. . . 1. 1. 6. 6 1 ee ee we ee

ARGUMENT . . 2. 2. ew we ee ee

CAN AN ALIEN RESIDING IN THE UNITED STATES PENDING
HIS APPLICATION FOR POLITICAL ASYLUM, SATISFY THE
RESIDENCY REQUIREMENTS CONTAINED WITHIN ARTICLE
VII, SECTION 6 OF THE FLORIDA CONSTITUTION AND
SECTION 196.031(1), FLORIDA STATUTES, IN ORDER TO
QUALIFY FOR FLORIDA'S HOMESTEAD TAX EXEMPTION?

[certified question] ..........6 «ees 5
A. The Juarrero Decision is Controlling . .. 5

B. Equating PRUCOL with "Permanent Resident"
Reaches An Erroneous Result ....... 11

C. PRUCOL has been Eliminated as a Ground
for Welfare Eligibility. ......... 13

D. An Immigrant Must be More Than PRUCOL
To Receive Homestead Exemption ..... 18

CONCLUSION
CERTIFICATE OF SERVICE .

INDEX TO APPENDICES . . 2.0. 1. 6 6 we ew ew ew we

20

21

22
ot

Case 18-13386-RAM Doc 66 Filed 10/17/18 Page 4 of 29

 

 

 

TABL NS

Cases Pages
Alcime v, Bystrom, 451 So. 2d 1037 (Fla. 3d DCA 1984) oe. 9
Cantor v. Davis, 489 So. 2d 18 (Fla. 1986) oe oe ee we eh emhlUeDmhUmhCULT
Dept. of HRS v. Solis, 580 So.2d 146 (Fla. 1991) ye ee 12,14
Florida Patient's Compensation Fund v. Von Stetina,

474 So. 2d 783 (Fla. 1985) rr
Holl v. Levine, 553 F.2d 845 (2d Cir. 1977),

cert.den., 435 U.S. 947 (1978) eee ee ee ew ee we CD
Juarrero v, McNayr, 157 So, 2d 79 (Fla. 1963) soe «8 « « Passim
Matter of Cooke, 412 So. 2d 340 (Fla.1982) woe ew ew ew we ew ew) 69,10
Saxbe v. Bustos, 419 U.S. 65, 95 S. Ct. 272,

42 L. Ed. 2d 231 (1974) a
Smart. v. Shalala, 9 F.3d 921 (llth Cir. 1993) soe we ew we he 618

Woodall _v. Travelers Indemnity Co., 699 So. 2d 1361

(Pla. 1997) 13
Other Authority
Florida
Art. VII, §6, Fla. Const. a
§196.031(1), Fla. Stat. a
§196.012(17) & (18), Fla. Stat. soe ee ee we ew wh eh)©6Upascsim
$409.026, Fla. Stat. Se ee ee eee ee ee 15
$414.095(3), Fla. Stat. (Supp. 1996) soe ee ew ew ew wd 616,17,19
S111, ch. 96-175, Laws of Fla. (1996) a  )
Rule 12D-7.007(3), Fla. Admin. Code soe eee ee ew ew ee 17
Federal
8 U.S.C. §1101(a) (13) (C) & (a) (20) 2... . ee. 18

di
Oe ' - Po - 7: | PO tT

Case 18-13386-RAM Doc66 Filed 10/17/18 Page 5 of 29

 

 

iv

8 U.S.C. §1158 [various provisions] a 7,29,22
8 U.S.C. §1225(b6) [various provisions] 7
42. U.S.C...§1382c(a). (1) (B) (1). cee ee ee ee LBL,
g U.S.C. SS 1601, 1611, 1612, 1613 ....... 2... «#16,18,21
8 U.S.C. §1611(c) (1) 19
8 U.S.C. §1621 & §1622(b) (1) (B) 19
8 U.S.C. §1641(b) & (b) (7) soe ee ee ew ew ew we) 716,17
Pub, L, 104-193, Title Iv, §400 rn 16
42 C.F.R. §435.408 (a) rn 13
20 C.F.R. §416.1618 soe eee 13
Miscellaneo

Carton, S., The PRUCOL Proviso in Public Benefits Law: Alien
Eligibility for Public Benefits, 14 NovaL.R. 1033, 1035-6

(Sp. 1990) soe ee ee soe ee 14
Po rs re BF

Case 18-13386-RAM Doc66 Filed 10/17/18 Page 6 of 29

PRE ATEMENT

Despite good faith effort, the Petitioners were not able to
file a joint brief. The Department concurs with Dade County's
brief with one qualification: The Department agrees that "lawfully
admitted permanent resident" (LAPR) status would entitle an
otherwise qualified Ammigrant to obtain homestead exemption.
However, it is not necessary for this Court to decide whether LAPR
status is the exclusive designation which would do so. The legal
ability to reside permanently in Florida, not the label used by
INS, is crucial. Application for political asylum is not
commensurate with such ability.

TAT NT OF THE CASE

Respondent (Lisboa) is a Brazilian who entered this country in

1991, (R1:14) (R1:140, Plaintiff's Exhibit 1)' He applied for

political asylum in late 1993, claiming he feared persecution for

his homosexuality if he returned to Brazil. (R1:;145-147,
Plaintiff's Exhibit 1) Apparently, the application is still
pending.

Lisboa's passport and visa were attached to the deposition of
Juan Gomez, after being identified by him as Plaintiff's Exhibit 3.
(Rl: 85 [depo. p. 5] at line 11, 161-165) The passport bears

issuance and expiration dates of November 20, 1990 and November 19,

 

‘Cites to the record will be in the form (R[vol. #]:[page
#}).
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Case 18-13386-RAM: Doc 66 Filed 10/17/18 Page 7 of 29

1996; respectively. (R1:161) The visa bears an issuance date of
November 27, 1990; and is valid for multiple éntries until November
27, 1994. (R1:164)

In 1994, Lisboa purchased a condominium in Miami, and resided
there. (R1:14-15) He twice applied for homestead exemption, in
March and August of 1995. Both applications were denied by the
property appraiser. Upon a hearing in March 1996, the Value
Adjustment Board for Dade County upheld the latter denial. (R1:15)

Lisboa sued. In the resultant hearing (in Feb., 1997), it was

not disputed that he was "PRUCOL"; that is, "permanently residing

under color of [federal] law." (R2:274[trans. p. 3, lines 19-23]).
Relying on Juarrero vy, McNayr, 157 So.2d 79 (Fla. 1963) and two

decisions by the Third District, the trial court denied his motion
for summary judgment. (R2:264) The parties stipulated to entry of
summary final judgment based on that denial. (R2:260-3, 293-4)

Appeal was taken to the Third District. After oral argument,
the parties entered a stipulation concerning the "source and
definition" of the term PRUCOL (R295~-8). The parties agreed that
PRUCOL is employed by some. state and federal statutes in
determining "eligibility for certain public assistance benefits."
(R_:295 at par. 2)

The Third District reversed, essentially holding that PRUCOL,
as applied to an asylum applicant, was tantamount to a permanent

residency as contemplated by §196.012(17) and (18), Florida
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Case 18-13386-RAM Doc66 Filed 10/17/18 Page 8 of 29

Statutes. (slip op., p. 4-5) It declined to follow Juarrero,
observing that “immigration policies of the United States have
changed considerably." Id., p. 7.

The lower court rejected the argument that permanency of
residence as to eligibility for welfare benefits is different from
"permanent resident" under Florida law as to eligibility for the
homestead tax exemption. Id., p. 8. It then certified this
question:

Can an alien residing in the United States pending
his application for political asylum, satisfy the
residency requirements contained within Article
VII, Section 6 of the Florida Constitution and
section 196.031(1), Florida Statutes, in order to
qualify for Florida's homestead tax exemption?
Id., p. 9.
The decision below was rendered February 16, 1998,

Petitioners filed their notice to invoke this Court's discretionary

jurisdiction on March 11.

SUMMARY OF THE ARGUMENT

Lisboa came to this country under a temporary visa and
passport. Claiming fear of persecution, he applied for asylum.

Due to a backlog of applications in the INS, the application has
been pending since late 1993,

Since his asylum application is pending, Lisboa cannot legally
be a permanent resident of Florida, regardless of his desire to
stay here indefinitely. It matters not that he was--at the time he

sought homestead exemption--deemed to be "permanently residing

3
Case 18-13386-RAM Doc66 Filed 10/17/18 Page 9 of 29

under color of [federal] law" (PRUCOL), for the limited purpose of
receiving some federal welfare benefits. Immigration law treats
Lisboa as a temporary resident of the United States.

Despite Lisboa's legal inability to claim permanent residency,
the Third District found him eligible for homestead exemption. It
equated the quasi-permanency of PRUCOL--now rescinded--with the
permanence necessary to claim homestead exemption. In so doing, it
interpreted the homestead tax exemption broadly instead of
narrowly, and failed to follow controlling precedent established by

this Court's decision in Jyarrero v. MoNayr, 157 So. 2d 79 (Fila.
1963).

!

The certified question must be answered negatively. The Third

District's decision must be reversed,
Case 18-13386-RAM Doc66 Filed 10/17/18 Page 10 of 29

ARGUMENT
ZSSUE

CAN AN ALIEN RESIDING IN THE UNITED STATES PENDING
HIS APPLICATION FOR POLITICAL ASYLUM, SATISFY THE
RESIDENCY REQUIREMENTS CONTAINED WITHIN ARTICLE
VII, SECTION 6 OF THE FLORIDA CONSTITUTION AND
SECTION 196.031(1), FLORIDA STATUTES, IN ORDER TO
QUALIFY FOR FLORIDA'S HOMESTEAD TAX EXEMPTION?
{certified question]

A, he Juarrero Decision Is Controllin
An alien residing in the United States pending his application
for political asylum cannot satisfy the Florida's permanency
requirements, and thus cannot qualify for homestead exemption. To
avoid this result under Florida law, the Third District relied on
federal immigration policy, and failed to follow Juarrero v.
McNayr, 157 So.2d 79 (Fla. 1963). Apparently alluding to the
deposition of Juan Gomez (R1:80-165), the court concluded:
Based on the testimony of the expert witness
presented below, it is clear that the immigration
policies of the United States have changed
considerably since Juarrero was decided.
(slip op., p. 7) No more is said. The pertinent parts of such
testimony are not cited or described. No federal statutes,
administrative regulations, Congressional proceedings, or national
studies are cited. Nevertheless, the court relied on these
undescribed policy changes to conclude Juarrero's designation, if

determined today, would be PRUCOL; and thus tantamount to a

"permanent resident" of Florida. Id.
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Case 18-13386-RAM Doc66 Filed 10/17/18 Page 11 of 29

As will be detailed below, as of mid 1996 new federal
immigration statutes effectively rescinded PRUCOL as a category of
immigrants eligible for welfare. Thus, while "immigration
policies of the United States " have indeed changed over the years,
such change favors denial of state tax exemptions to asylum
applicants. Otherwise, immigration policies, such as promptness of
INS action of asylum applications, have no bearing on whether an
alien can legally intend to be a permanent resident of Florida.
What matters is an asylum applicant's legal inability to remain in
this country--that is, the legal inability to convert an indefinite
"visit" into a permanent home.

Factually, this case is indistinguishable from Juarrero.
Lisboa entered this country on a visa which expired in four years,
despite allowing unlimited re-entries. His passport expired in six
years. Neither document indicated he was being allowed to
immigrate permanently to the U.S. Lisboa applied for asylum about
two years after his arrival. His application was pending when he
applied for homestead exemption, and apparently still is.

By comparison, the Juarrero's sought "refuge" here to escape
the political hostility of the Cuban government. They held
nonimmigrant visas which allowed unlimited admissions, but expired
after a few years, in 1963. About a month after their arrival,
they obtained permission Erom immigration authorities to stay here

indefinitely. Nevertheless, they were not given permanent visas.
Case 18-13386-RAM Doc66 Filed 10/17/18 Page 12 of 29

See 157 So.2d at 80. Their temporary visas did not give them
authority to remain in the U.S. permanently; but only indefinitely,
as long as their need for asylum remained. Id. Under these facts,
this Court held them ineligible for homestead exemption, as they
did "not have the ability to convert a temporary residence into a
permanent home." Id. at 81.

Similarly, Lisboa does not have the ability to convert his
temporary residence into a permanent home. First, his visa and
passport have long since expired. He would have to return to Brazil
but for the pendency of his asylum application. Second, he has
applied for asylum, not necessarily permanent residency. Like the
Juarrero’s, the "uncertainty of this need [for asylum] requires an
indefinite stay." Id, at 80. Nevertheless, as the Juarrero
holding makes clear, Lisboa cannot bootstrap his need for an
indefinite stay into a legally permanent residency.

Even if he were granted asylum, Lisboa would not have the
right to remain here forever. His residency here would be
permitted only so long as his need for asylum remained.* See 8
U.S.C. §$1158(c) (2) ("Asylum granted under subsection (b) of this

section does not convey a right to remain permanently in the United

 

Under 8 U.S.C. §1225(b) an alien may seek asylum under fear
of persecution. Such fear must be shown to be "credible" as
defined by 8 U.S.C. §1225(b) (1) (B) (v), which cross-references the
asylum provisions of §1158 ("For purposes of this subparagraph,
the term "credible fear of persecution" means ... the alien could
establish eligibility for asylum under section 1158 of this
title." [e.s.]).
Case 18-13386-RAM Doc66 Filed 10/17/18 Page 13 of 29

States[.]"). Consequently, the grant of asylum, however indefinite
in duration, is not the same as permission to reside here
permanently. If the grant of asylum does not confer permanent U.S.
residency, Florida certainly is not required to extend the
homestead tax exemption to an alien who has merely applied for
asylum,

To avoid following Juarrero, the Third District made a factual

assumption absolutely contradicted by the record:

[I]t is clear that the immigration policies of the

United States have changed considerably since
Juarrero was decided, Most significant is the
fact that Mr, Juarrero's visa today would not be
of a temporary nature, Indeed, like Mr. Lisboa,

 

Juarrero's status would be that of one
"permanently residing under color of law.'!
Consequently, we do not find that our decision
today is in conflict with Juarrero. {e.s.]

(slip op., p. 7-8)

Thus, the court attached greatest significance to its
assumption that Juarrero's visa would not be temporary if issued
today, and that the Juarrero's would be PRUCOL. That assumption is
directly contradicted by the record, and by federal law (seen. 5
herein). Lisboa's passport and visa were attached to the
deposition of Juan Gomez as Plaintiff's Exhibit 3. (R1:161-165)
The passport bears issuance and expiration dates of November 20,
1990 and November 19, 1996; respectively. (R1:161) The visa bears

an issuance date of November 27, 1990; and is valid for multiple

entries only until November 27, 1994. (R1:164) Thus, it is
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Case 18-13386-RAM Doc66 Filed 10/17/18 Page 14 of 29

undisputed that Lisboa's passport and visa were of limited
duration; as were the visas in Juarrero and Alcime (discussed
below). That Lisboa's visa was temporary implies the Juarrero's
passports and visas, if issued today, would be also.

Alternatively, the court below misapprehended a significant
factual difference between the Juarrero's and Lisboa--the fact that
the Juarrero's were Cuban. As Cubans, the Juarrero's would have
special status today.* As a Brazilian, Lisboa would not enjoy the
special status.

The decision below also cannot be squared with Alcime v.
Bystrom, 451 So.2d 1037 (Fla. 3d DCA 1984), the Third District's
own precedent twenty-one years more recent than Jyarrero. There,
an alien who had resided in the United States for over twenty
years; resided in Florida for ten years; and been employed in local
government for over six years was held ineligible for homestead
exemption because he was without a permanent visa. Alcime relied
on Juarrero and Matter of Cooke, 412 So.2d 340 (Fla.1982) (foreign
citizen visiting Florida as tourist who did not hold permanent visa

cannot be a permanent resident of this state and thus cannot place

 

*See 8 U.S.C. §1641(b) (7) (declaring "an alien who is a
Cuban or Haitian entrant" as a "qualified alien" for purposes of
welfare eligibility); and §501(e) of the Refugee Education
Assistance Act of 1980 [8 U.S.C. §1522] (defining "Cuban and
Haitian entrant" to include individuals, among others, granted
"any other special status subsequently established under the
immigration laws for nationals of Cuba or Haiti"; and to include
such nationals who have asylum applications pending).

9
Case 18-13386-RAM Doc66 Filed 10/17/18 Page 15 of 29

residence owned in state beyond reach of creditors under homestead
exemption from forced sale). These cases answer the only question
which need be answered here: an applicant for asylum cannot be a
permanent resident.

Cooke has greater significance than might be realized at first
blush. It effectively affirmed the continuing vitality of
Juarrero, as it also placed controlling importance on the lack of
a permanent visa. Cooke, however, is 19 years more recent.
Therefore, the law established by Juarrero is not so dated as the
opinion below would imply.

To avoid the controlling authority of Juarrero, the court
below made an assumption--that visas in Juarrero would not be
temporary today--directly contradicted by the record, and attached
"Most" significance to that assumption. Since the assumption is
Clearly erroneous, the court's logic--and its conclusion--must
fail. Juarrero is controlling. Lisboa is not legally eligible for

the homestead exemption privilege.

10
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Case 18-13386-RAM Doc66 Filed 10/17/18 Page 16 of 29

B. Equating PRUCOL With "Permanent Resident"
Reaches An Erroneous Result

The court below began its analysis by quoting §§196.012(17) «&
(18), Florida Statutes; and concluded it "had no doubt Lisboa fully
qualifies for the exemption," (slip op., p. 5) These statutes
provide:

(17) "Permanent resident" means a person who has
established a permanent residence as defined in
subsection (18).

(18) "Permanent residence" means that place where
a person has his or her true, fixed, and permanent
home and principal establishment to which,
whenever absent, he or she has the intention of

returning. A person may have only one permanent

residence at a time; and, once a. permanent
residence is established in a foreign state or

country, it is presumed to continue until the

person shows that a change has occurred. [e.s.]

The court omitted the underlined portion of subsection (18),
even though it has been part of the law since at least 1993.
Lisboa was, without dispute, a permanent resident of Brazil until
he came here. Permanency of residence in that country must be
presumed until "a change has occurred." The most reasonable
reading of the underlined language is that the "change" which must
be shown by residents of foreign countries is a change of legal
status, to something which would allow permanent residence in the
United States. Otherwise, every immigrant could claim homestead
exemption when, as here, the factual desire to be a permanent
resident of Florida is not disputed. The underlined language would

be nullified.

11
Case 18-13386-RAM Doc66 Filed 10/17/18 Page 17 of 29

Like the immigrants in Juarrero, Lisboa "made every
requirement for the exemption claimed within [his] power."
Juarrero, 157 So.2d at 81. The unalterable circumstance remains:
Lisboa resides in the United States only temporarily, while his
asylum application is pending. His visa and passport expired some
time ago. According to Lisboa's own expert, the large backlog of
asylum applications pending before the INS allows Lisboa to stay
here and work until a decision is made on his application. (R1:84-
86) It is only because of the resultant delay that INS does not
either grant the application or deny it and remove Lisboa
immediately. (R1:87-89) Moreover, it appears the PRUCOL
designation was developed by federal agencies other than INS as a
response to this backlog. Since INS cannot catch up in processing
applications, immigrants awaiting asylum decisions stay here long
enough to seek welfare; and are deemed "permanently residing under
the color of law" for such purposes. Again, as Lisboa's expert
admitted, PRUCOL "is just a category created in a way under the
social service system." (R1:90, deposition, at p. 11, lines 17-18)

Some aliens have remained PRUCOL even while under deportation

orders not yet enforced. See Gomez deposition at p. 27-8 (R1:106-

7). See also Dept. of HRS v. Solis, 580 So.2d 146, 148 (Fla. 1991)
(discussing Holley v. Lavine, 553 F.2d 845 (2d Cir.1977), cert.
denied, 435 U.S. 947, 98 S.Ct. 1532, 55 L.Ed.2d 545 (1978); and

noting that Holley, an illegal resident, was found to be PRUCOL for

12
Case 18-13386-RAM Doc66 Filed 10/17/18 Page 18 of 29

purposes of obtaining benefits). PRUCOL immigrants actually
awaiting deportation can hardly be deemed permanent residents of
this state. The possibility of having to give homestead exemption
to deportees illustrates the reasonableness of requiring more than
PRUCOL status to qualify for the exemption,

Under the logic of the opinion below, whether an immigrant can
legally intend to be a permanent resident of Florida no longer
depends, for example, on the nature and duration of their passport
and visa. Instead it depends on the ability of INS to timely
process asylum applications. Because of INS's protracted delay, a
quasi-permanent designation (PRUCOL)--which was never an
immigration status and is no longer a basis for welfare
eligibility--has been elevated to the controlling rule of law in
Florida. Lisboa cannot be allowed to parlay the backlog of asylum
applications and extraordinary delay by INS into permanent Florida

residency. By so interpreting §196.012(18), the Third District

reached an erroneous result. See Woodall _v. Travelers Indem. Co.,
699 So.2d 1361, 1363 (Fla. 1997) ("A statute should not be

interpreted so as to lead to an absurd result.").

RUCOL Has Been Elimin Ground
for Welfare Eligibility

The so-called permanency of PRUCOL simply has nothing to do
with "permanent resident" as contemplated by Florida's homestead
tax exemption laws. Nothing requires this state to recognize

PRUCOL as tantamount to permanent residency for purposes of

13
Case 18-13386-RAM Doc66 Filed 10/17/18 Page 19 of 29

claiming the exemption, See Smart v. Shalala, 9 F.3d 921, 923
(llth Cir. 1993) ("{Immigrant] contends that PRUCOL status is the

equivalent of being lawfully admitted for permanent residence.
That argument is plainly wrong.").

Even if the analogy to the PRUCOL designation was logical, it
is no longer available. Both the U.S. and Florida have eliminated
PRUCOL as a basis for receiving welfare benefits.

PRUCOL is not a category or status of immigrant adopted by the
INS. Until it was eliminated in 1996, it was a designation
afforded some immigrants for purposes of establishing their
eligibility for welfare benefits. See Smart, 9 F.3d at 923
("PRUCOL is a criterion for determining whether an alien is
eligible for benefits under certain public welfare programs, such
as Medicaid and Supplemental Security Income for the Aged, Blind
and Disabled"), citing to 42 U.S.C. §1382c(a) (1) (B) (i), 20 C.F.R,

§416.1618; 42 C.F.R. §435.408(a). See also Carton, $S., The PRUCOL

 

Proviso in Public Benefits Law: Alien Bligibility for Public
Benefits, 14 NovaL.R. 1033, 1035-6 (Sp. 1990) (""PRUCOL ... is not

a category of immigration status, but rather a category for public
benefits eligibility ... of shifting composition, depending on the
specific program in question.").

Lisboa concedes this. At trial, his expert testified:

[PRUCOL] is just a category created in a way under
the social service system.

14
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Case 18-13386-RAM Doc66 Filed 10/17/18 Page 20 of 29

(R1:90, Gomez depo. at p. 11, lines 17-18) Therefore, the
permanency attributed to PRUCOL is not the same as permission,
received from the INS, to remain in the U.S. as a "lawfully
admitted permanent resident" (LAPR). Since the federal government
makes this distinction, Florida can too.

Nevertheless, the Third DCA relied heavily on__Solis, to
conclude Lisboa was a "permanent" resident and entitled to claim
homestead exemption. (slip op., p. 5-6) Solis was premised on
adoption of PRUCOL by Florida law. There, the certified question
read:

Whether an alien residing in this country pending

her application for political asylum is eligible

for AFDC benefits as one "permanently residing in

the United States under color of law" within the

meaning of section 409,026, Florida Statutes.

[e.s.]
Id., 580 So.2d at 147. Had Florida law not separately adopted
PRUCOL as a welfare recipient category, an alien such as Solis
would not have been eligible for AFDC. See id. at 150 ("Therefore,
we agree with the district court that Solis and her family fit

within the PRUCOL language of subsection 409,026(1), and we approve

that court's decision". [e.s.]).4 In contrast, there is no PRUCOL

 

‘At the time, §409.026(1), Florida Statutes, provided:
The department shall determine the benefits
each applicant or recipient of assistance is
entitled to receive under this chapter,
provided that each such applicant or recipient
is a resident of this state and is a citizen
of the United States or is an alien lawfully
admitted for permanent residence or otherwise

15
Case 18-13386-RAM Doc66 Filed 10/17/18 Page 21 of 29

terminology in the homestead provisions of Florida's Constitution
or the statutory implementing language.

Section 409.026 was repealed in 1996. See §111, ch. 96-175,
Laws of Fla. (1996). That repeal was part of a massive welfare
reform law designed to place limits on the duration of benefits and
move welfare recipients back into the workforce. The new law
“expressly addressed the eligibility of aliens to receive benefits:
(3) Eligibility for noncitizens.~~A qualified

noncitizen is an individual who is lawfully
present in the United States as a refugee or who

is granted asylum under ss. 207 and 208 of the

Immigration and Nationality Act, an alien whose

deportation is withheld under s. 243(h) of the

Immigration and Nationality Act, or an alien who

has been admitted as a permanent resident and

meets specific criteria under federal law.

[e.s.]
§414.095(3), Florida Statutes (Supp. 1996). Florida law no longer
recognizes PRUCOL as a ground for receiving welfare. With its
lynchpin repealed, Solis is no longer good law, and cannot be
persuasive by analogy.

Equally important, U.S. immigration law forbids welfare

benefits to asylum applicants generally. In 1996, Congress set
forth a new policy concerning welfare and immigration. See Pub.L.

104-193, Title IV, §400 (effective Aug. 22, 1996); codified as 8

U.S.C. §1601. That policy stressed self-sufficiency; that aliens

 

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Case 18-13386-RAM Doc66 Filed 10/17/18 Page 22 of 29

not depend on public resources; and that there is a "compelling
government interest to remove the incentive for illegal immigration
provided by the availability of public benefits." Congress also
enacted broad prohibitions against extending federal welfare
benefits to persons who were not "qualified aliens." See id., at
8 U.S.C. $§1611, 1612, 1613.

Specifically, 8 U.S.C. §1611(a) declares, with exceptions not
applicable to Lisboa, an alien who is not "qualified alien" is not
eligible for any federal public benefit. See also, §1612
(qualified aliens not eligible for certain federal programs), §1613
(qualified aliens entering U.S. after Aug. 22, 1996 not eligible
for means-tested public benefits for 5 years).

A "qualified alien" is defined in 8 U.S.C. §1641(b). That
definition includes seven categories of aliens, none of which
declare an alien "permanently residing under the color of law" to
be qualified for federal welfare benefits. To the contrary,
§$1641(b) (2) requires an alien to have been granted asylum to be
considered "qualified." None of the other categories include
asylum applicants generally.

The 1996 law eliminated PRUCOL as a ground for welfare
eligibility. Whatever permanence attributed to that designation
cannot, by analogy, be elevated into permanent residence for
purposes of claiming homestead exemption. Moreover, the 1996 laws-

-obviously effective before the Third DCA's decision but well after

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Case 18-13386-RAM Doc66 Filed 10/17/18 Page 23 of 29

Lisboa sought homestead exemption in 1995-~must be applied by this
Court. Cantor yv. Davis, 489 So.2d 18, 20 (Fla. 1986) ("An
appellate court is generally required to apply the law in effect at

the time of its decision.").

D. An Immigrant Must Be More Than PRUCOL
To Receive Homestead Exemption

To obtain homestead exemption, an immigrant must be able to
show the good-faith intent to reside in Florida permanently. This
is more than showing eligibility for federal welfare benefits under
the old or new immigration laws. As said above, PRUCOL--if it were
still available--is not enough.

Requiring the legal ability to remain in the U.S. permanently
is not arbitrary.°® A good example is provided by the definition of
LAPR:

[t]he term "lawfully admitted for permanent
residence" means the status of having been
lawfully accorded the privilege of residing
permanently in the United States as an immigrant
in accordance with the immigration laws, such
status not having changed.
8 U.S.C. §1101(a) (20). This is the status which Lisboa lacks. The
crucial difference between this status and PRUCOL is that PRUCOL

does not confer any privileges relating to residence or travel.

 

‘Requiring the legal ability to remain in the U.S.
permanently is also consistent with Department of Revenue Rule
12D-7.007(3), Fla. Admin. Code (providing that a "person in this
country under a temporary visa cannot meet the requirement of
permanent residence or home and, therefore, cannot claim
homestead exemption.").

18
Case 18-13386-RAM Doc66 Filed 10/17/18 Page 24 of 29

For example, under 8 U.S.C. §1101(a) (13) (C), an alien lawfully
admitted for permanent residence (LAPR) generally does not have to
seek formal re-admission into this country after traveling abroad.
In effect, an alien who is LAPR can travel and work much like a
U.S. citizen, See Saxbe v. Bustos, 419 U.S. 65, 72, 95 S.Ct. 272,
277-8, 42 L.Ed.2d 231 (1974) (immigrant who is LAPR may remain in
the U.S. indefinitely and work in this country; return to this
country after a temporary absence abroad; and establish a permanent
residence in the United States).

Once an immigrant can travel and work much the same as a U.S.
citizen, and may establish a permanent residence here, that person
is practically indistinguishable from any other Florida resident.
It is entirely reasonable to require aliens to obtain some of the
day-to-day privileges enjoyed by U.S. citizens--regardless of INS
nomenclature~-before treating them as permanent residents for tax
purposes.

Florida administers the homestead exemption uniformly, without
regard to U.S. citizenship. It does not extend the homestead tax
exemption to U.S. citizens who permanently reside in other states.
Owners of the classic Florida "second home" or "winter home" are
not eligible for the exemption. See §196.012(18), Florida Statutes
(declaring, within definition of “permanent residence," that a
person may have only one permanent residence at a time). Nothing

in federal law prohibits this practice, or the practice of denying

19
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Case 18-13386-RAM Doc66 Filed 10/17/18 Page 25 of 29

homestead exemption to asylum applicants. By requiring permanency
of residence in this state, Florida law compelled denial of the
exemption to Lisboa.
CONCLUSION
The certified question must be answered negatively, and the
Third District's opinion reversed.
Respectfully submitted,

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20
Case 18-13386-RAM Doc66 Filed 10/17/18 Page 26 of 29

CERTIFICATE OF SERVICE
I HEREBY CERTIFY that a true and correct copy of the foregoing
has been furnished by U.S. Mail to BRION BLACKWELDER, counsel for
Lisboa, Nova Southeastern Civil Law Clinic, 3305 College Avenue,
Fort Lauderdale, Florida 33314; and MELINDA THORNTON, Assistant
County Attorney, Stephen P. Clark Center, Suite 2810, 111 N.W.

First Street, Miami, Florida 33128-1993; this _/ GO sy of May,

 

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CHARLIE MCCOY Z
<charles>lisboa\ib2.wpd Assistant Attorriey General

21
Case 18-13386-RAM Doc66 Filed 10/17/18 Page 27 of 29

DADE COUNTY PROPERTY APPRAISER v. LISBOA 737 So.2d 1078, 24 Fla.
L. Weekly $382 (Fla. 1999)

DADE COUNTY PROPERTY APPRAISER, Dade County Tax Collector,

and Florida Department of Revenue, Petitioners,

Jose LISBOA, Respondent.
No. 92,628.

Supreme Court of Florida.
Jul 08, 1999.

Application for Review of the Decision of the District
Court of Appeal--Certified Great Public Importance Third
District--Case No. 97-874 (Dade County).

COUNSEL

Robert A. Ginsburg, Miami-Dade County Attorney, and Melinda
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behalf of Dade County Property Appraiser & Tax Collector, and
Robert A. Butterworth, Attorney General, Joseph C. Mellichamp,
Senior Assistant Attorney General, and Charlie McCoy, Assistant
Attorney General, Tallahassee, Florida, on behalf of the Florida

Department of Revenue, for Petitioners.

Brion L. Blackwelder, Project Director, Nova Southeastern
University, Civil Law Clinic, Fort Lauderdale, Florida, for

Respondent.

Vincente A. Tome, Miami, Florida, for The Project To
Mobilize Immigrant Students For Eduction (Promise), A Project Of
The Florida Immigrant Advocacy Center, Inc., Amicus Curiae.

OPINION

PER CURIAM.
Case 18-13386-RAM Doc66 Filed 10/17/18 Page 28 of 29

We initially accepted jurisdiction to review the decision
in Lisboa v. Dade County Property Appraiser, 705 So.2d 704 (Fla.
3d DCA 1998), which certified to this Court a question declared
to be of great public importance. See art. V, s. 3(b)(4), Fla.

 

Const. Upon further consideration of the certified question and
the decision of the Third District Court of Appeal, we conclude
that the legal question in this case does not present an issue
of “great public importance." Rather, the question to be
answered requires consideration of a narrow issue with very
unique facts. Accordingly, jurisdiction was improvidently

granted and we hereby dismiss this petition.

It is so ordered.

HARDING, C.J., and SHAW, WELLS, ANSTEAD and PARIENTE, JJ.,

concur,

OVERTON, Senior Justice, dissents with an opinion.

DISSENTING

'

OVERTON, Senior Justice, dissenting.

I dissent. The district court of appeal certified the

following question:

Can an alien residing in the United States pending his
application for political asylum, satisfy the residency
requirements contained within article Vil, section 6 of the
Florida Constitution and section 196.031(1), Florida
Statutes, in order to qualify for Florida's homestead tax

exemption?

In this instance, the property appraiser, while recognizing
that a lawfully admitted permanent resident alien is entitled to
a homestead exemption, determined that this alien who was
lawfully in the country was not entitled to a homestead
exemption because he was an alien who had a pending application

for political asylum.
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Case 18-13386-RAM Doc66 Filed 10/17/18 Page 29 of 29

| believe it is a significant statewide issue for this
Court to decide whether an appraiser can unilaterally decide
which aliens who are lawfully in this country are entitled to
the homestead exemption and which ones are not. Accordingly, |

would accept jurisdiction.
